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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 IN RE: TAXOTERE (DOCETAXEL)
 PRODUCTS LIABILITY LITIGATION                       MDL NO. 2740
                                                     SECTION “H” (5)
 THIS DOCUMENT RELATES TO:
                                                     JUDGE MILAZZO
 DEBRA FOWLER                                        MAG. JUDGE NORTH
 Case No. 2:19-cv-12274

    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the plaintiff

and/or her counsel hereby gives notice that the above-captioned action is voluntarily dismissed,

without prejudice against the defendants int his matter.


Date: October 21, 2019                               MARC J. BERN & PARTNERS LLP

                                                     By: /s/ Debra J. Humphrey            .
                                                     Debra J. Humphrey
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 21 day of October, 2019, I caused the foregoing document to

be filed electronically with the Clerk’s Office CM/ECF system for filing and transmittal of a Notice

of Electronic Filing.


                                                     /s/ Debra Humphrey
                                                     Debra Humphrey
